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       Exhibit B
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     Reed R. Kathrein (139304)
 1   Peter E. Borkon (212596)
     Danielle Charles (291237)
 2   HAGENS BERMAN SOBOL SHAPIRO LLP
     715 Hearst Avenue, Suite 202
 3   Berkeley, CA 94710
     Telephone: (510) 725-3000
 4   Facsimile: (510) 725-3001
     reed@hbsslaw.com
 5   peterb@hbsslaw.com
     daniellec@hbsslaw.com
 6

 7   Attorneys for Plaintiffs
 8   [Additional counsel listed on signature page]

 9                                UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11   BRUCE MACDONALD, Individually and          )    Case No. 3:17-cv-07095-RS
     on Behalf of All Others Similarly Situated,)
12                                              )    CLASS ACTION
                                                )
                                     Plaintiff, )
13                                                   PLAINTIFFS’ NOTICE OF DEPOSITION
                                                )    OF DEFENDANT DYNAMIC LEDGER
14          v.                                  )    SOLUTIONS, INC. PURSUANT TO
                                                )    FEDERAL RULE OF CIVIL
15   DYNAMIC LEDGER SOLUTIONS, INC.,            )    PROCEDURE 30(b)(6)
     a Delaware corporation, TEZOS              )
16   STIFTUNG, a Swiss Foundation,              )
                                                )
     KATHLEEN BREITMAN, an                      )
17   Individual, ARTHUR BREITMAN,               )
18   an Individual, TIMOTHY COOK                )
     DRAPER, an individual, DRAPER              )
19   ASSOCIATES, JOHANN GEVERS,                 )
     DIEGO PONZ, GUIDO SCHMITZ-                 )
20                                              )
     KRUMMACHER, BITCOIN SUISSE AG,             )
     NIKLAS NIKOLAJSEN and DOES 1-100, )
21   INCLUSIVE,                                 )
22                                              )
                                   Defendants. )
23                                              )

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 1            PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules of Civil

 2   Procedure, Plaintiffs in the above-captioned action, by its counsel, will take the oral deposition of

 3   Defendant Dynamic Ledger Solutions, Inc. regarding the subject matters set forth in the attached

 4   Schedule B, which shall be interpreted in accordance with the definitions and instructions set forth in

 5   Schedule A.

 6            The deposition shall commence at 10:00 a.m. on March 1, 2018 at the Berkeley offices of

 7   Hagens Berman Sobol Shapiro LLP, or at such other time and location as agreed upon by counsel,

 8   and continuing thereafter until completed. The deposition will be recorded by stenographic means.

 9            By February 26, 2018, Defendant Dynamic Ledger Solutions, Inc. shall provide a written

10   designation of the name(s) and position(s) of the one or more officers, directors, or managing agents,

11   or other persons who will be produced to testify on Dynamic Ledger Solutions, Inc.’s behalf

12   concerning the matters set forth in Schedule B. Pursuant to Federal Rule of Civil Procedure

13   30(b)(6), the person(s) designated by Dynamic Ledger Solutions, Inc. should be prepared to testify to

14   such matters known or reasonably available to Dynamic Ledger Solutions, Inc. The person testifying

15   shall bring to the deposition, or produce beforehand, all documents reviewed, relied upon or

16   considered in preparation of the deposition.

17
     DATED: January 10, 2018                               Respectfully submitted,
18
19                                                         HAGENS BERMAN SOBOL SHAPIRO LLP

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                                                           By: /s/ Reed R. Kathrein
21                                                         Reed R. Kathrein (139304)
                                                           Peter E. Borkon (212596)
22
                                                           Danielle Charles (291237)
23                                                         715 Hearst Ave., Suite 202
                                                           Berkeley, CA 94710
24                                                         Telephone: (510) 725-3000
                                                           Facsimile: (510) 725-3001
25                                                         Email: reed@hbsslaw.com
                                                                   peterb@hbsslaw.com
26
                                                                   daniellec@hbsslaw.com
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                                                           Steve W. Berman
 1                                                         HAGENS BERMAN SOBOL SHAPIRO LLP
 2                                                         1918 Eighth Avenue, Suite 3300
                                                           Seattle, WA 98101
 3                                                         Telephone: (206) 623-7292
                                                           Facsimile: (206) 623-0594
 4                                                         Email: steve@hbsslaw.com
 5                                                         Jason M. Leviton, (Pro Hac Vice to be submitted)
                                                           Joel A. Fleming (281264))
 6                                                         Jacob A. Walker (271217)
                                                           BLOCK & LEVITON LLP
 7                                                         155 Federal Street, Suite 400
                                                           Boston, MA 02110
 8                                                         Telephone: (617) 398-5600
                                                           Email: jason@blockesq.com
 9                                                                 joel@blockesq.com
                                                                   jake@blockesq.com
10

11                                                         Attorneys for Plaintiff
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                                                        SCHEDULE A
 1
                                         DEFINITIONS AND INSTRUCTIONS
 2

 3            1.       “Defendants” “you” or “your” refers to Dynamic Ledger Solutions, Inc., Tezos

 4   Stiftung, Kathleen Breitman, Arthur Breitman, Timothy Cook Draper, Draper Associates, Johann

 5   Gevers, Diego Ponz, Guido Schmitz-Krummacher, Bitcoin Suisse AG, and Niklas Nikolajsen. All

 6   references to the “Breitmans” (plural) refer to both Defendant Kathleen Breitman and Defendant

 7   Arthur Breitman.

 8            2.       “Communication” or “communications” refers to every manner or means of disclosure,

 9   transfer or exchange of information (in the form of facts, ideas, inquiries or otherwise), whether orally,

10   electronically, by document, telecopier, mail, personal delivery or otherwise.

11            3.       The “Complaint” refers to Plaintiffs’ Class Action Complaint for Violations of

12   California Corporations Code § 25110 and California’s Unfair Competition Laws (Dkt. No. 1) in the

13   above-captioned case. All paragraph references herein are to the Complaint.

14            4.       “DLS,” or “Dynamic Ledger Solutions” refers to defendant Dynamic Ledger Solutions,

15   Inc. and its parents, subsidiaries, predecessors, successors, divisions, affiliates, operating units,

16   controlling persons, controlled persons, officers, directors, employees, representatives or agents.

17            5.       “ICO Proceeds” refers to all funds collected via or derived from the Tezos Initial Coin

18   Offering (the “ICO” or “Tezos ICO”).
19            6.       “Putative Class,” “Member of Putative Class,” or “Putative Class Member,” as

20   defined in ¶1 of the Complaint, refers to:
            [A]ll persons who purchased Tezos tokens (aka “XTZ”, “Tezzies” or “tez”) by
21          contributing fiat currency (e.g., U.S. Dollars) or other consideration (including the
22          blockchain-based digital currencies bitcoin (BTC) and/or Ethereum (“ETC” or
            “ether”)) to the Tezos “Initial Coin Offering” (“ICO”) in July 2017.
23

24            7.       “Tezos Stiftung”, “Tezos Foundation”, or the “Foundation” refers to Defendant Tezos

25   Stiftung and its parents, subsidiaries, predecessors, successors, divisions, affiliates, operating units,

26   controlling persons, controlled persons, officers, directors, employees, representatives or agents.

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 1            8.       These requests are being made on an expedited basis, and Plaintiff reserves all rights to

 2   supplement these requests in the ordinary course.

 3                                                  SCHEDULE B
                                               TOPICS FOR DEPOSITION
 4

 5            1.       ICO Proceeds (including how and in what form those proceeds were obtained, where

 6   those proceeds exist, how and for what purpose they have been transferred since they were obtained,

 7   the process by which they may be transferred or exchanged, the processes and procedures for

 8   safekeeping those proceeds, and recordkeeping related to those proceeds).

 9            2.       Any documents relating to the results of any audits of Defendant DLS.

10            3.       The capital structure of Dynamic Ledger Solutions.

11            4.       The formation and governance of DLS.

12            5.       The basis of, the allegations by the Breitmans against Johann Gevers as alleged in ¶¶

13   102-103 of the Complaint.

14            6.       The 46-page letter referenced in ¶ 103 of the Complaint.

15            7.       Gevers’ allegations that the “Breitmans have been trying to control the foundation as if

16   it were their own private entity by bypassing the foundation’s legal structure and interfering with

17   management and operations” and of the Breitmans “illegal coup” as alleged in ¶ 104 of the Complaint.

18            8.       Communications between the Breitmans and/or DLS and the Foundation since the ICO.
19            9.       Any agreements between DLS and the Foundation.

20            10.      DLS’ role in the formation or creation of the Foundation.

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